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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                District ofDistrict
                                             __________     New Hampshire
                                                                    of __________


                                                               )
                             Plaintiff                         )
                                v.                             )      Case No.
                                                               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:
          Plaintiffs Coalition for Open Democracy, League of Women Voters of New Hampshire, The Forward Foundation,
          McKenzie Nykamp Taylor, December Rust, Miles Borne, by his next friend Steven Borne, Alexander Muirhead,   .
          by his next friend Russell Muirhead, and LilaMuirhead, by her next friend Russell Murihead

Date:           10/30/2024
                                                                                        Attorney’s signature



                                                                                    Printed name and bar number
                                                                                        Ropes & Gray LLP




                                                                                              Address



                                                                                          E-mail address



                                                                                         Telephone number



                                                                                           FAX number
